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                       IN THE UNITED ST ATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

                 V.                                          Case No. 18-mj-143

JEREMY J. RYAN,

                            Defendant.


                       COMPLAINT FOR VIOLATION OF TITLE 18,
                         UNITED STATES CODE, SECTION 2332i


BEFORE United States Magistrate Judge                    United States District Court
Stephen L. Crocker                                       120 North Henry Street
                                                         Madison, Wisconsin 53703

       The undersigned complainant being duly sworn states:

       On or about October 24, 2018, in the Western District of Wisconsin, the

defendant,

                                    JEREMY J. RY AN,

attempted to possess radioactive material with the intent to cause death or serious

bodily injury.

       (In violation of Title 18, United States Code, Section 2332i).
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This complaint is based on the attached affidavit of Scott Mahloch.



                                          SCOTT MAHLOCH, Special Agent
                                          Federal Bureau of Investigation

                          1}{™
Sworn.to before me this     .    day of October 2018.




                                          United States Magistrate Judge




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COUNTY OF DANE                     )
                                   ) ss
STATE OF WISCONSIN                 )

                                          AFFIDAVIT·

       I, Scott Mahloch, first being duly sworn under oath, hereby depose and state as

follows:

       1.      I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI),

and have been so employed since April 2009. I am currently assigned to the Joint

Terrorism Task Force at the Milwaukee Field Office, where I conduct a variety of

investigations in the area of counterterrorism in the performance of my duties. I have

investigated and assisted in the investigation of matters involving violations of federal

law related to domestic terrorism, international terrorism, weapons of mass destruction,

the distribution of bomb-making materials, and material support, including in the .

preparation and service of criminal complaints and search and arrest warrants. I have

conferred with colleagues who have received specialized training from the FBI in

investigating crimes related to explosives, biological weapons, and weapons of mass ·

destruction.

       2.      The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter, but is

intended to demonstrate that there is probable cause to believe that Jeremy J. RYAN

violated Title 18, United States Code, Section 2332i.




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        3.       Website #1 is a hidden service website that is a publicly accessible

marketplace and forum. 1 A username and password is required to access the

marketplace and forum for Website #1, but the registration process is open to the

public. The marketplace and forum for Website #1 contains numerous subsections

advertising the sale of various illegal products, including drugs, counterfeit goods, and

weapons.

        4.      On March 16, 2018, an FBI Online Covert Employee (OCE) received a

private message via Website #l's messaging system. The OCE had listed for sale

several illicit items on Website #1, including a radioactive substance.2 The private

message was from a user with the account name "tigolebitties" (hereinafter, "TOB")

and stated, "How much is included? And would it get to the US in time to still have

time before half life?"

        5.      The OCE replied on March 18, 2018 asking TOB which item he was

referring to. Less than four hours later, TOB replied, specifying that he was referring to

the radioactive substance. That same day, TOB asked the OCE about the differences

between different listings for various types of the radioactive materials the OCE had on

Website #1 and why they were priced differently. On March 22, 2018, the OCE sent a

message to TOB responding to these questions. The OCE stated that one of the

substances was a sealed radioactive source used to test radiation detection devices, was

not as dangerous as the other, and could be purchased by a lab. The OCE explained


1 The actual name of Website #1 is known to law enforcement. The site remains active and disclosure of
the name of the site would potentially alert users to the fact that law enforcement action is being taken
against the site, potentially provoking users to notify other users of law enforcement action, flee, and/ or
destroy evidence. Accordingly, specific names and identifying factors have been replaced with generic
terms.
2 The specific radioactive substance is known by agents to be radioactive material as defined by 18 U.S.C.

§ 2332i(8), is highly toxic, and will likely cause death if ingested in even small amounts.
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that the second substance, the one Ryan ultimately ordered, was a lethal poison that the

OCE makes as a custom product.

       6.     On March 20, 2018, the OCE asked TOB if he/ she had access to a specific

encrypted messaging platform. TOB replied the same day indicating he h~d an account

with this platform and provided the OCE with an email address whereby the OCE

could directly contact him.

       7.     On March 21, 2018, the OCE sent a message to TOB giving him a code

word to use when they moved their conversation to email, in order to assure the person

utilizing the TOB account and the person utilizing email address referenced above,

were the same person. That same day, the OCE sent an email to the email address

requesting the code word. The same day, the person utilizing the email address replied

with the correct code word, confirming they were the same person as TOB. From

March 21, 2018 through March 25, 2018, all communications between the OCE and TOB

were through this platform. While using this platform, the OCE and TOB sometimes,

but not always, encrypted the body of the messages. Because the user of the email

address knew the code word provided to TOB, I believe TOB and the person sending

messages from the email address referenced in paragraph six are the same person.

       8.     On March 23, 2018, TOB replied, "How long would it take the poison to

kill someone after ingested? I'm looking for something that's very rare/ difficult to get a

hold of. Also that doesn't show symptoms immediately but kills them fairly soon after.

Preferably something that is not going to be extremely brutal and drawn out. But the

main quality is that it is extremely difficult to procure so that people automatically

suspect the government. Do you have something other than the [radioactive substance]

that would be like that and also safe to ship?" On March 25, 2018, the OCE replied,
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indicating the effects of the radioactive substance are delayed, but the target will

definitely die and people will just think they got sick. The OCE also stated he could get

other radioactive material, but the radioactive substance tI:t-ey had been discussing

would be best for TOB' s needs.

       10.    The OCE did not hear from TOB again until October 2018. On October 8,

2018, TOB placed an order for the radioactive substance via website #1. The cost of the

sub~tance was 0.086018 Bitcoin, which on thqt date was equivalent to approximately

$569. There were two messages from TOB with the order. The first stated:

       "Please ship to:

      Jeremy Ryan

       6666 Odana Rd # 263

       Madison, WI 53719

       Thanks!"

The second message stated "How long does shipping usually take and how do you

send tracking?"

       11.    On October 9, 2018, the OCE replied that the OCE makes each dose

custom and therefore needed to know the target's weight and height and whether the

target was a man or a woman. TOB replied the same day, saying, "Yes we were talking

about it in March I think. I sent you a message from my [other email address]. Sent one

today and well. I do have a few questions though. Not that it will affect but curious how

does it exhibit? No symptoms for a while then quick and painless or how does it work?

Also is there any way they can test for it? And if not what will they say it was? 6' 220 lb

man. Thanks!"


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       12.      The OCE replied the same day, saying they would answer TOB' s

questions in a few hours. The OCE then emailed TOB and explained how to deploy the

radioactive substance against the target. The OCE also asked TOB if they had good

access to the target. TOB replied the same day, saying, in part, "Yes I do have good

. access to the target. How long would they be very sick? And can they test for it after

they are dead?"

        13.     On October 10, 2018, the OCE wrote TOB and asked if TOB wanted it to

loo~ like the target died from cancer. The same day TOB replied, saying, he/she

"Basically wanted it to look like they may have died ?'om either cancer or cancer

treatment.if possible. I say may have because you said they won't know what they died

from for sure."

       14.      On October 10, 2018, FBI Special Agent Doug Raubai'determined that 6666

Odana Road, Madison, Wisconsin is a commercial UPS store, #0704. That' same day, he

obtained the Mailbox Service Agreement (MSA) from the UPS Store located at 6666

Odana Road for the PO Box TOB provided as a delivery address. The MSA, dated

September 24, 2014, provided the following information for the mailbox customer:

       Name: Joseph Jeremy Ryan

       Address:                           ~
                                              Madison, WI
                                                •.     .
                                                          53703

       Email:

       Telephone number:

        15.     Also included with the MSA were·copies of a Wisconsin Driver's License

and a United States Uniformed Services Card. The driver's license was for Jeremy

Joseph Ryan, born on               1988, with an address of


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      Madison, WI. The license number was                         . The photographs on

the two identification cards appeared to be the same person.

       16.    On October 9, 2018, an FBI Agent queried the Nl:ltional Crime Information

Center (NCIC) database with the above information to confirm Ryan's identity. The

inquiry returned the following information: Jeremy J. Ryan, born                1988, with

Wisconsin driver's license number                        , and an address 6666 Odana

Road, # 263, Madison, Wisconsin:

       17.    On October 15, _2018, Ryan was provi~ed with a tracking number to allow

him to go to a specific website and track the simulated progress of his package. In later

commooications, the OCE described the location of the vial in the package, told Ryan he

. would need a special tool to access it, and told Ryan where in the package the special

tool was located.

       18.   _On October 24, 2018, FBI surveillance personnel saw Ryan travel to 6666

Odana Road. He entered the store and was seen a short time later exiting the store

carrying a package.



                                                     SCOTT MAHI OCH, Special Agent
                                                     FEDERAL BUREAU OF
                                                     INVESTIGATION

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                                               .
                      orn before me this __ day of October.


Honorable Stephen L. Crocker
United States Magistrate Judge




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